          Case 1:12-cr-00031-AWI-BAM Document 112 Filed 09/04/13 Page 1 of 2


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 5

 6 Attorneys for the
     United States of America
 7

 8

 9                       IN THE UNITED STATES DISTRICT COURT

10                     FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,               CASE NO.   1:12-cr-00031-AWI

13                          Plaintiff,       STIPULATION TO CONTINUE
                                             SENTENCING OF YVETTE MAURA
14          v.                               AUGUST; ORDER THERON

15   YVETTE MAURA AUGUST,                    DATE:   September 16, 2013
                                             TIME:   10:00 a.m.
16                          Defendant.       CTRM:   HON. ANTHONY W. ISHII

17

18         The parties, by and through their undersigned counsel,

19 agree that the court may continue the sentencing for defendant

20 YVETTE MAURA AUGUST from September 9, 2013, until September 16,

21 2013, at 10:00 a.m.           The reason for this request is that counsel

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29      Stipulation to Continue Sentencing
                                             1
        of Yvette August
30
                             Case 1:12-cr-00031-AWI-BAM Document 112 Filed 09/04/13 Page 2 of 2


 1 for the government will be out of the district on the currently

 2 scheduled sentencing date.

 3 Dated: September 3, 2013                                           BENJAMIN B. WAGNER
                                                                      United States Attorney
 4

 5                                                              By:     /s/ Mark J. McKeon
                                                                      MARK J. MCKEON
 6
                                                                      Assistant U.S. Attorney
 7

 8 Dated: September 3, 2013                                             /s/ Katherine Hart
                                                                      KATHERINE HART
 9                                                                    COUNSEL FOR DEFENDANT
10

11                                                                 ORDER

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14
     IT IS SO ORDERED.
15
     Dated: September 3, 2013
16                                                              SENIOR DISTRICT JUDGE
     DEAC_Signature-END:




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     0m8i788
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29                         Stipulation to Continue Sentencing
                                                                  2
                           of Yvette August
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